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7
                     IN THE UNITED STATES DISTRICT COURT

8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
9
                                  WESTERN DIVISION
10

11    SYMBOLOGY INNOVATIONS, LLC,
12                                                Civil Action No.: 2:20-cv-3736
                  Plaintiff,
13

14          v.                                    TRIAL BY JURY DEMANDED
15
      FABLETICS, LLC,
16

17
                  Defendant.

18           ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT
19
           1.     Symbology Innovations, LLC (“Symbology” or “Plaintiff”), by and
20

21   through its counsel, hereby brings this action for patent infringement against
22
     Fabletics, LLC (“Fabletics” or “Defendant”) alleging infringement of the following
23

24
     validly issued patent (the “Patent-in-Suit”): U.S. Patent No. 8,424,752, titled

25   “System and method for presenting information about an object on a portable
26
     electronic device” (the “’752 Patent”), attached hereto as Exhibit A.
27

28
     COMPLAINT FOR PATENT INFRINGEMENT - 1
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1                              NATURE OF THE ACTION
2
           2.     This is an action for patent infringement arising under the United States
3

4    Patent Act 35 U.S.C. §§ 1 et seq., including 35 U.S.C. § 271.
5
                                          PARTIES
6

7
           3.       Plaintiff Symbology Innovations, LLC is a Texas company with its

8    principal place of business at 1801 NE 123 Street – Suite 314, Miami, Florida 33181.
9
           4.     On information and belief, Defendant Fabletics, LLC is a limited
10

11   liability company organized under the laws of Delaware, having its principal place
12
     of business at 800 Apollo Street, El Segundo, California 90245. Defendant Fabletics
13

14
     may be served via its registered agent CSC – Lawyers Incorporating Service, 2710

15   Gateway Oaks Drive – Suite 150N, Sacramento, California 95833.
16
                              JURISDICTION AND VENUE
17

18         5.     This lawsuit is a civil action for patent infringement arising under the
19
     patent laws of the United States, 35 U.S.C. § 101 et seq. The Court has subject-
20

21
     matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.

22          6.    The Court has personal jurisdiction over Defendant for the following
23
     reasons: (1) Defendant is present within or has minimum contacts within the State
24

25   of California and the Central District of California; (2) Defendant has purposefully
26
     availed itself of the privileges of conducting business in the State of California and
27

28
     this district; (3) Defendant has sought protection and benefit from the laws of the
     COMPLAINT FOR PATENT INFRINGEMENT - 2
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1    State of California; and (4) Defendant regularly conducts business within the State
2
     of California and within this district, and Plaintiff’s cause of action arises directly
3

4    from Defendant’s business contacts and other activities in the State of California and
5
     in this district.
6

7
             7.       Defendant, directly and/or through intermediaries, ships, distributes,

8    uses, offers for sale, sells, and/or advertises products and services in the United
9
     States, the State of California, and this district including but not limited to the
10

11   products which contain the infringing ’752 Patent systems and methods as detailed
12
     below. Upon information and belief, Defendant has committed patent infringement
13

14
     in the State of California and in this district; Defendant solicits and has solicited

15   customers in the State of California and in this district; and Defendant has paying
16
     customers that are residents of the State of California and this district and that use
17

18   and have used Defendant’s products and services in the State of California and in
19
     this district.
20

21
             8.       Venue is proper in the Central District of California pursuant to 28

22   U.S.C. §§ 1400(b). Defendant is headquartered in this district, has a regular and
23
     established place of business in this district, has transacted business in this district,
24

25   and has directly and/or indirectly committed acts of patent infringement in this
26
     district.
27

28
     COMPLAINT FOR PATENT INFRINGEMENT - 3
     Case 2:20-cv-03736-CJC-PJW Document 1 Filed 04/23/20 Page 4 of 10 Page ID #:4



1                                       PATENT-IN-SUIT
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           9.     The Patent-in-Suit teaches systems and methods for enabling a portable
3

4    electronic device (e.g., smartphone) to retrieve information about an object when the
5
     object’s symbology (e.g. QR code) is detected.
6

7
           10.    The invention disclosed in the Patent-in-Suit discloses inventive

8    concepts that represent significant improvements in the art and are not mere routine
9
     or conventional uses of computer components.
10

11                                 ACCUSED PRODUCTS
12
            11.   Defendant makes, uses, offers for sale and sells in the U.S. products,
13

14
     systems, and/or services that infringe the Patent-in-Suit, including, but not limited

15   to certain products and services implementing QR code functionality as described in
16
     the Patent-in-Suit (collectively, the “Accused Products”).
17

18                                         COUNT I
19                       (Infringement of U.S. Patent No. 8,424,752)
20
           12.    Plaintiff incorporates by reference the allegations of paragraphs 1-11,
21

22   the same as if set forth herein.
23          13.   The ’752 Patent is valid, enforceable, and was duly and legally issued
24
     by the United States Patent and Trademark Office (“USPTO”) on April 23, 2013.
25

26   The ’752 Patent is presumed valid and enforceable. See 35 U.S.C. § 282.
27
            14.   Plaintiff is the owner by assignment of the ’752 Patent and possesses
28
     COMPLAINT FOR PATENT INFRINGEMENT - 4
     Case 2:20-cv-03736-CJC-PJW Document 1 Filed 04/23/20 Page 5 of 10 Page ID #:5



1    all rights of recovery under the ’752 Patent, including the exclusive right enforce
2
     the ’752 Patent and pursue lawsuits against infringers.
3

4           15.   Without a license or permission from Symbology, Defendant has
5
     infringed and continues to infringe on one or more claims of the ’752 Patent—
6

7
     directly, contributorily, and/or by inducement—by importing, making, using,

8    offering for sale, or selling products and devices that embody the patented invention,
9
     including, without limitation, one or more of the patented ’752 systems and methods,
10

11   in violation of 35 U.S.C. § 271.
12
           Direct Infringement
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14
           16.    Defendant has been and now is directly infringing by, among other

15   things, practicing all of the steps of the ’752 Patent, for example, through internal
16
     testing, quality assurance, research and development, and troubleshooting. See Joy
17

18   Techs., Inc. v. Flakt, Inc., 6 F.3d 770, 775 (Fed. Cir. 1993); see also 35 U.S.C. § 271
19
     (2006). For instance, Defendant has directly infringed the Patent-in-Suit by testing,
20

21
     configuring, and troubleshooting the functionality of QR codes on its products and

22   services.
23
           17.    By way of example, Defendant has infringed and continues to infringe
24

25   at least one or more claims of the ’752 Patent, including at least Claim 1. Attached
26
     hereto as Exhibit B is an exemplary claim chart detailing representative infringement
27

28
     of claim 1 of the Patent-in-Suit.
     COMPLAINT FOR PATENT INFRINGEMENT - 5
     Case 2:20-cv-03736-CJC-PJW Document 1 Filed 04/23/20 Page 6 of 10 Page ID #:6



1          Induced Infringement
2
            18.   Defendant has been and now is indirectly infringing by way of inducing
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4    infringement by others and/or contributing to the infringement by others of the ’752
5
     Patent in the State of California, in this judicial District, and elsewhere in the United
6

7
     States, by, among other things, making, using, offering for sale, and/or selling,

8    without license or authority, products affixed with QR codes that require the accused
9
     technology for intended functionality, testing, configuration, troubleshooting, and
10

11   other utilization. End users include, for example, customers, customers’ customers,
12
     retail store personnel, and other third-parties.
13

14
            19.   Defendant took active steps to induce infringement, such as advertising

15   an infringing use, which supports a finding of an intention. See Metro-Goldwyn-
16
     Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932 (2005) (“[I]t may be
17

18   presumed from distribution of an article in commerce that the distributor intended
19
     the article to be used to infringe another's patent, and so may justly be held liable for
20

21
     that infringement").

22          20.   The allegations herein support a finding that Defendant induced
23
     infringement of the ’752 Patent. See Power Integrations v. Fairchild Semiconductor,
24

25   843 F.3d 1315, 1335 (Fed. Cir. 2016)(“[W]e have affirmed induced infringement
26
     verdicts based on circumstantial evidence of inducement [e.g., advertisements, user
27

28
     manuals] directed to a class of direct infringers [e.g., customers, end users] without
     COMPLAINT FOR PATENT INFRINGEMENT - 6
     Case 2:20-cv-03736-CJC-PJW Document 1 Filed 04/23/20 Page 7 of 10 Page ID #:7



1    requiring hard proof that any individual third-party direct infringer was actually
2
     persuaded to infringe by that material.”).
3

4             Contributory Infringement
5
              21.   On information and belief, Defendant contributorily infringes on
6

7
     Symbology’s ’752 Patent. Defendant knew or should have known, at the very least

8    with the filing of this complaint as a result of its freedom to operate analyses, that
9
     third parties, such as its customers, would infringe the ’752 Patent by implementing
10

11   Defendant’s QR code technology.
12
              22.   On information and belief, Defendant’s implementation of the accused
13

14
     functionality has no substantial non-infringing uses. See, e.g., Lucent Techs., Inc. v.

15   Gateway, Inc., 580 F.3d 1301, 1321 (Fed. Cir. 2009) (holding that the “substantial
16
     noninfringing use” element of a contributory infringement claim applies to an
17

18   infringing feature or component, and that an “infringing feature” of a product does
19
     not escape liability simply because the product as a whole has other non-infringing
20

21
     uses).

22            Willful Infringement
23
              23.   On information and belief, the infringement of the ’752 Patent by
24

25   Defendant has been and continues to be willful. Defendant has had actual knowledge
26
     of Symbology’s rights in the ’752 Patent and details of Defendant’s infringement
27

28
     based on at least the filing and service of this complaint. Additionally, Defendant
     COMPLAINT FOR PATENT INFRINGEMENT - 7
     Case 2:20-cv-03736-CJC-PJW Document 1 Filed 04/23/20 Page 8 of 10 Page ID #:8



1    had knowledge of the ’752 Patent and its infringement in the course of Defendant’s
2
     due diligence and freedom to operate analyses.
3

4          Plaintiff Suffered Damages
5
           24.   Defendant’s acts of infringement of the ’752 Patent have caused
6

7
     damage to Symbology, and Symbology is entitled to recover from Defendant the

8    damages sustained as a result of Defendant’s wrongful acts in an amount subject to
9
     proof at trial pursuant to 35 U.S.C. § 271. Defendant’s infringement of Symbology’s
10

11   exclusive rights under the ’752 Patent will continue to damage Symbology causing
12
     it irreparable harm for which there is no adequate remedy at law, warranting an
13

14
     injunction from the Court.

15                                REQUEST FOR RELIEF
16
           25.   Symbology incorporates each of the allegations in the paragraphs
17

18   above and respectfully asks the Court to:
19
           (a)   enter a judgment that Defendant has directly infringed, contributorily
20

21
     infringed, and/or induced infringement of one or more claims of each of the ’752

22   Patent;
23
           (b)   enter a judgment awarding Symbology all damages adequate to
24

25   compensate it for Defendant’s infringement of, direct or contributory, or
26
     inducement to infringe, the including all pre-judgment and post-judgment interest
27

28
     at the maximum rate permitted by law;
     COMPLAINT FOR PATENT INFRINGEMENT - 8
     Case 2:20-cv-03736-CJC-PJW Document 1 Filed 04/23/20 Page 9 of 10 Page ID #:9



1          (c)    enter a judgment awarding treble damages pursuant to 35 U.S.C. §
2
     284 for Defendant’s willful infringement of the ’752 Patent
3

4          (d)    issue a preliminary injunction and thereafter a permanent injunction
5
     enjoining and restraining Defendant, its directors, officers, agents, servants,
6

7
     employees, and those acting in privity or in concert with them, and their

8    subsidiaries, divisions, successors, and assigns, from further acts of infringement,
9
     contributory infringement, or inducement of infringement of the ’752 Patent.
10

11         (e)    enter a judgment requiring Defendant to pay the costs of this action,
12
     including all disbursements, and attorneys’ fees as provided by 35 U.S.C. § 285,
13

14
     together with prejudgment interest; and

15         (f)    award Symbology all other relief that the Court may deem just and
16
     proper.
17

18    Dated: April 23, 2020                      Respectfully submitted,
19
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     COMPLAINT FOR PATENT INFRINGEMENT - 9
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1                                              Together with:
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12                                             ATTORNEY FOR PLAINTIFF
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      COMPLAINT FOR PATENT INFRINGEMENT - 10
